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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    DIAMOND SPORTS GROUP, LLC, et al., 1                            ) Case No. 23-90116 (CML)
                                                                    )
                             Debtors.                               ) (Jointly Administered)
                                                                    )

             NOTICE OF ENTRY INTO RESTRUCTURING SUPPORT AGREEMENT

             On January 16, 2024, the above-captioned debtors and debtors in possession (collectively,

the “Debtors”) entered into a restructuring support agreement with Amazon.com Services LLC

and certain holders of the Debtors’ prepetition funded debt. 2 A copy of the restructuring support

agreement is attached hereto as Exhibit A.

                                 [Remainder of page intentionally left blank]




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.ra.kroll.com/DSG. The Debtors’ service address for purposes of these
      chapter 11 cases is: c/o Diamond Sports Group, LLC, 3003 Exposition Blvd., Santa Monica, CA 90404.
2
      Prior to entering into the restructuring support agreement, the Debtors terminated the Cooperation Agreement
      [Docket No. 1342-1] pursuant to its terms.
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January 17, 2024                                 Respectfully submitted,

                                                 /s/ John F. Higgins
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                                                 - and -

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 Section 327(e) Counsel to the Debtors and       Counsel to the Debtors and Debtors in
 Debtors in Possession                           Possession




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                                  Certificate of Service

       I certify that, on January 17, 2024, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                  /s/ John F. Higgins
                                                  John F. Higgins
